    Case: 1:22-cv-06599 Document #: 36 Filed: 06/30/23 Page 1 of 1 PageID #:134




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
CHRISTOPHER IRVING,


                                                    Civil action 1:22-cv-06599
                      Plaintiff,
                                                    The Honorable Andrea Wood
              v.                                    Courtroom 2141

COOK COUNTY SHERIFF’S OFFICE et al.,                The Honorable Heather McShain
                                                    Courtroom 1700


                      Defendants.

                          JOINT STATUS REPORT PURSUANT TO ECF NO. 35

       Pursuant to this Court’s order of June 16, 2023 (ECF No. 35), the Parties report:

   1. The Parties did not brief Defendant Laneshia Pondexter’s motion to dismiss because

Plaintiff does not oppose Defendants’ motion to dismiss Defendant Pondexter.

   2. The Parties have served written discovery requests. The Parties are not aware of any

discovery disputes that require the Court’s involvement. Moreover, the Parties do not expect

difficulty completing fact discovery by the September 15, 2023, deadline.

   3. There are no other issues that the Parties would like to discuss with the Court.

Respectfully submitted,

Heidi Karr Sleper                                   Jonathan Wheeler
Kurtz, Sleper & Exline, LLC                         Assistant State’s Attorney
610 West Roosevelt Road                             50 West Washington Street
Suite A2                                            Fifth Floor
Wheaton, Illinois 60187                             Chicago, Illinois 60602
hsleper@kselegal.com                                jonathan.wheeler@cookcountyil.gov
